Case 1:05-cr-10033-.]DT Document 6 Filed 05/02/05 Page 1 of 2 Page|D 15

UNI'I`ED STATES DISTRICT COURT
FOR THE
WESTERN DIS'I`RICT OF TENNESSEE
.§00..§000000...¢.00¢¢¢¢¢¢§§0.0¢0§0¢§0§¢¢0.§.§000§0.§§0§00.000..§

UNITED STATES OF AMERICA
CR. N0.05-10033-T
vs.

SCOTTY MOSIER

APPLICATION, ORDER and WRIT FOR HABEAS CORPUS AD PROSEQUENDUM
The United States Attomey’s Offlce applies to the Court for a Writ to have Seotty Mosier, DOB 06-

08-1976, SSN XXX-XX-XXXX, now being detained in the Crockett County Jail, Alamo, Tennessee, appear

1b Ff&) UAY
before Magistrate Thornas Anderson on the 3 'l day of m £;`i , 2005 for an Appearance and
07 .' 00 f, t.
for such other appearances as this Court may direct. w

  
    
 

Respeetfully submitted this 27th day of April, 2005.

 

Jeéy R. mci-16

Assistant U. S. Attorney

§§.00..§§§00000§.§0.§§§§OO..§¢§§¢¢¢§§.§¢..¢.§.0§0....0.§..0§§...§

Upon consideration of the foregoing Application, David Jolley, U.S. Marshal, Westem Dist:rict of

c:! :L‘
m r"'
Tennessee, Memphis, TN Sheriff/Warden, Crockett County Jail, Alamo, Tennessee. é%;§ :¢ §§
©»15" § 92
YoU ARE HEREBY COMMANDED to have Sc<my Mosier appear bef<§% eh¢f;‘*_ ¢l> \
21 i`:)_'\;£` do
Magistrate Thomas Anderson at the date and time aforementioned §;;;.4 3
§0‘>?:?» '?? "'f?>
/ ~‘"r,". m ?'
ENTERED this OZ. day of M&) , 20 Qi . §go _.\

csme iad

UNITED STATES MAGISTRATE JUDGE

Thls document entered on the docket sheet !n_ compliance
with FluIe 55 andlor 32(!)) FFtCrP on

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CR-10033 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

